774 F.2d 1161
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Jerry M. Burgess; Sharon M. Burgess, Plaintiffs-Appellants,v.The National Steel Co.; The Hanna Mining Co.; Conrail; DravoWellman Co., Defendants-Appellees.
    No. 84-3483
    United States Court of Appeals, Sixth Circuit.
    9/3/85
    N.D.Ohio
    AFFIRMED
    ORDER
    
      1
      BEFORE:  LIVELY, Chief, Judge; WELLFORD, Circuit Judge; and BERTELSMAN, District Judge.*
    
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      IT IS ORDERED that the judgment of the District Court be, and it hereby is, affirmed upon the opinion of the District Court.
    
    
      
        *
         The Honorable William O. Bertelsman, United States District Judge for the Eastern District of Kentucky, sitting by designation
      
    
    